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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division



UNITED STATES OF AMERICA,

                V.                                  Case No. 1:97-cr-00006-AJT


DERRICK VINCENT REDD,

                Defendant.


                                              ORDER


          Upon consideration ofthe Notice of Motion by Defendant Derek Vincent Redd To

Reduce Sentence Pursuant To 18 U.S.C. § 3582(c)(I)(A)(i)[Doc. 299], the Memorandum of

Law in support thereof[Doc. 300], the Government's response thereto [Doc. 311] and the

Defendant's Reply [Doc. 315], the Defendant's supplemental submissions [Docs. 316, 319, 322-

326],the argument of counsel at the hearing held on November 21,2019, and for the reasons set

forth in the Memorandum Opinion [Doc. 327] issued herewith, it is hereby

          ORDERED that Defendant Derrick Vincent Redd's Motion to Reduce Sentence Pursuant

to 18 U.S.C. § 3582(c)(I)(A)(i)[Doc. 299] be, and the same hereby is, GRANTED;and it is

further


          ORDERED that Defendant's sentence of 540 months, or 45 years, for his three

convictions under 18 U.S.C. § 924(c) be, and the same hereby is, REDUCED to a total of 180

months, or 15 years, to run consecutive to his sentence of63 months, for a total sentence of243

months, with credit for time served, with all other terms and conditions previously imposed,

including supervised release; and it is further

          ORDERED that the Federal Bureau of Prisons may delay the execution of this Order for

a period not to exceed ten(10)days from the date ofthis Order to allow the Federal Bureau of
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